Case 1:11-cr-00205-JAW Document 889 Filed 12/21/15 Page 1 of 2   PageID #: 4299




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


   DAWLIN CABRERA,                       )
      a/k/a Rolando Andujar              )
      a/k/a Boss Man, a/k/a D,           )
                                         )
                Petitioner,              )    1:11-cr-00205-JAW-04
                                         )    1:15-cv-00210-JAW
         v.                              )
                                         )
   UNITED STATES OF AMERICA,             )
                                         )
                Respondent.              )


                   ORDER AFFIRMING THE
        RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

         The United States Magistrate Judge filed with the Court on October

   30, 2015 his Recommended Decision (ECF No. 882). Mr. Cabrera filed his

   objections to the Recommended Decision on November 16, 2015 (ECF No.

   884). The Government filed its response to the objections on November 27,

   2015 (ECF No. 886). I have reviewed and considered the Magistrate Judge’s

   Recommended Decision, together with the entire record; I have made a de

   novo determination of all matters adjudicated by the Magistrate Judge’s

   Recommended Decision; and I concur with the recommendations of the

   United States Magistrate Judge for the reasons set forth in his

   Recommended Decision, and determine that no further proceeding is

   necessary.

         1. It is therefore ORDERED that the Recommended Decision of the
            Magistrate Judge (ECF No. 882) is hereby AFFIRMED.
Case 1:11-cr-00205-JAW Document 889 Filed 12/21/15 Page 2 of 2       PageID #: 4300




         2. Accordingly, it is hereby ORDERED that Dawlin Cabrera’s 28
            U.S.C. § 2255 Motion (ECF No. 872) be and hereby is DENIED.

         3. It is further ORDERED that no certificate of appealability should
            issue in the event the Dawlin Cabrera files a notice of appeal
            because there is no substantial showing of the denial of a
            constitutional right within the meaning of 28 U.S.C. § 2253(c)(2).

         SO ORDERED.



                                  /s/ John A. Woodcock, Jr.
                                  JOHN A. WOODCOCK, JR.
                                  UNITED STATES DISTRICT JUDGE


   Dated this 21st day of December, 2015




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